                              United States District Court
                                      EASTERN DISTRICT OF TEXAS
                                          SHERMAN DIVISION


    UNITED STATES OF AMERICA                          §
                                                      §
                                                      §
    VS.                                               §   CRIMINAL ACTION NO. 4:07CR042
                                                      §
                                                      §
    SALVADOR YANEZ RUIZ                               §


                                           ORDER ON MOTIONS

           Before the Court is Defendant’s Pro Se Motions For An Order Directing BOP or

    Government to Procure/Produce Petitioner’s Post-Rehabilitation Documents in Support of 18 USC

    3582 (c)(1)(A) (Dkts. #2018, 2019) wherein Defendant is requesting the Court compel the

    Government and/or the Bureau of Prisons to produce a progress report of Petitioner and any and

    all medical records within his Unit at BOP. After review, the Court finds that Defendant’s motion

    is DENIED.

           While there is nothing prohibiting the Government from providing such a request for the

    Court to consider, the Court declines to order the Government to do so. It is therefore,

.          ORDERED that the Defendant’s Pro Se Motion For An Order Directing BOP or

    Government to Procure/Produce Petitioner’s Post-Rehabilitation Documents in Support of 18 USC

    3582 (c)(1)(A) (Dkt. #2018) is DENIED.

           IT IS SO ORDERED.
           SIGNED this 12th day of April, 2024.




                                          ___________________________________
                                          AMOS L. MAZZANT
                                          UNITED STATES DISTRICT JUDGE
